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                  ZMO Law PLLC
MEMO ENDORSED                                                  January 11, 2021


 Via ECF
                                                        USDC SDNY
 Hon. Valeria E. Caproni                                DOCUMENT
 United States District Judge                           ELECTRONICALLY FILED
 Thurgood Marshall                                      DOC #:
 United States Courthouse                               DATE FILED: 1/12/2021
 40 Foley Square
 New York, NY 10007

        RE: U.S. v. Stanley Hampton, 20 Cr. 667

 Dear Judge Caproni:

    This office represents the defendant, Stanley Hampton, in the above-captioned case
 pursuant to an appointment under the Criminal Justice Act ("CJA"). I am writing to request
 an order authorizing the appointment of my associate, Victoria Medley Esq., to assist me in
 this case under the CJA. I believe that using Ms. Medley’s services will result in more effective
 and efficient representation for Mr. Hampton in this matter.

    Our office expects to receive substantial discovery that Ms. Medley will be assigned to
 process and analyze. The government indicated at the Status Conference on January 11, 2021
 that the quantity of discovery would be large, including video recordings of multiple
 controlled purchases, undercover reports of purchases, ID procedures, lab reports, police
 reports, complaint reports, photographs of the crime scene, vouchers recovered from the
 crime scene, surveillance videos, and information from witnesses.

   I expect Ms. Medley to participate in most aspects of the case going forward, including but
 not limited to reviewing and analyzing discovery, coordinating with Mr. Hampton’s family
 and friends, and conducting legal and factual research.

    Ms. Medley has already been providing me with additional support managing this case.
 For example, Ms. Medley has been communicating with Mr. Hampton, his family, and with
 the AUSAs assigned to this case. Ms. Medley also wrote a letter motion for Mr. Hampton to
 the Court requesting a waiver of appearance.

    To date, Ms. Medley has worked approximately 5 hours on this case. Therefore, I
 respectfully request that Ms. Medley be appointed nunc pro tunc to December 30, 2020, the
 day she first began assisting with the case, and that she be permitted to continue assisting
 me in this matter.


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   As set forth in the Section II (A) (1) (a) in the Second Circuit Judicial Committee on
Criminal Justice Act Representation Policy and Procedure Manual, (the "CJA Manual")
judicial authorization is required for an associate to bill more than ten hours on a CJA matter.
The Manual also states at subsection (2) (f):

               With respect to non-capital cases, the spirit of The Guide to
            Judiciary Policies § 620.10.10 (c) also applies to using associates to
            lower the cost of the representation or to meet time limits. With
            prior approval for services in excess of ten hours, associates may
            be used, at the presumptive rate where such services will diminish
            the total cost of representation.

   Additionally, Appendix E to the CJA Manual states that the presumptive hourly rate for a
full-time associate at the assigned counsel's firm is $110 per hour:

               In situations where the associate is a full-time employee of the
            CJA panel member's firm, application can be made to the presiding
            judicial officer for a rate of $110 per hour. The additional funds are
            intended to help defray the costs associated with maintaining said
            associate such as room rent and telephone.

   I have little doubt that the work done by Ms. Medley should diminish the overall cost and
will increase the effectiveness of representation. I propose that she be authorized at this time
to work on this matter at a rate of one hundred and ten dollars ($110) per hour.

   Ms. Medley is a full-time associate of my firm, which she joined in 2018. She graduated
from Brooklyn Law School in 2014 and is admitted to practice law in New York State, as well
as the U.S. District Courts for the Southern and Eastern Districts of New York. Ms. Medley has
worked on complex federal criminal cases in those districts and civil matters in the Third
Circuit. Ms. Medley’s experience includes processing and understanding complex discovery.
For example, Ms. Medley was appointed as an associate attorney under the CJA to help
review voluminous physical and digital discovery and to second-chair at trial in a sex
trafficking prosecution that involved four alleged victims, U.S. v. Lloyd Kidd, 18. Cr. 872 (VM).

   Please do not hesitate to contact me if you have any questions. Thank you for attention to
this request.




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                                                  Very truly yours,

                                                  Zachary Margulis-Ohnuma
                                                  Zachary Margulis-Ohnuma

Application GRANTED.

SO ORDERED.




HON. VALERIE CAPRONI
UNITED STATES DISTRICT JUDGE
                            1/12/2021




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